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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                                      Case No. 99-81073
vs.
                                                      HON. GEORGE CARAM STEEH
SAMI MAKKI, D-33,

                 Defendant.
                                         /

               ORDER DENYING DEFENDANT’S MOTION TO AMEND
              PRESENTENCE REPORT AND FOR RECOMMENDATION
                       FOR DRUG TREATMENT (#384)

      Defendant moves to amend his presentence report and seeks a recommendation

for drug treatment during his imprisonment.

      Defendant’s current claim belies his earlier representations to probation and the

court. He offers no independent corroboration for his claims of a substance abuse

history. Moreover, defendant has the opportunity, with or without a court

recommendation to seek treatment if he wishes. Accordingly, Defendant’s motion is

DENIED.

      IT IS SO ORDERED.



                                         S/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE

Dated: June 6, 2006



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                             CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record on June 6, 2006, by
electronic and/or ordinary mail.


                                        S/Josephine Chaffee
                                        Secretary/Deputy Clerk




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